251 F.3d 1015 (D.C. Cir. 2001)
    Small Business in Telecommunications, Petitionerv.Federal Communications Commission and United States of America, Respondents
    No. 99-1543
    United States Court of Appeals  FOR THE DISTRICT OF COLUMBIA CIRCUIT
    Argued January 11, 2001Decided June 8, 2001
    
      On Petition for Review of Orders of the Federal Communications Commission
      Robert H. Schwaninger, Jr. argued the cause for the  petitioner.
      Roberta L. Cook, Counsel, Federal Communications Commission, argued the cause for the respondents.  Christopher  J. Wright, General Counsel, and Daniel M. Armstrong, Associate General Counsel, Federal Communications Commission,  A. Douglas Melamed, Acting Assistant Attorney General, and Catherine G. O'Sullivan and Andrea Limmer, Attorneys,  United States Department of Justice, were on brief.
      Before Henderson, Rogers and Tatel, Circuit Judges.
      Opinion for the court filed by Circuit Judge Henderson.
      Karen LeCraft Henderson, Circuit Judge:
    
    
      1
      The petitioner,  Small Business in Telecommunications (SBT), seeks to challenge rulemaking orders of the Federal Communications  Commission (FCC or Commission) that, inter alia, devised  service and competitive bidding rules as well as technical and  operational rules for 800 MHz Specialized Mobile Radio  (SMR) service.1  For the reasons set forth below, we dismiss  the petition for review with respect to the Upper Channel  First Reconsideration Order and deny the petition with respect to the Lower Channel Report and Order and the Lower  Channel Reconsideration Order.
    
    Background
    
      2
      In 1974 the FCC created the SMR service.  SMR licensees  use bandwidth2 in the 800 MHz and 900 MHz ranges to  provide "land mobile communications services" on a commercial basis.  47 C.F.R.      90.7.  In order to accommodate new  uses of the bandwidth, including cellular telephone and data  transmission services, and to respond to changes in statutory  law, see Fresno Mobile Radio, Inc. v. FCC, 165 F.3d 965, 967  (D.C. Cir. 1999), in 1995 the Commission adopted a regime for  the upper 200 channels of the SMR bandwidth which planned  to auction licenses for each of 175 newly-designated Economic  Areas (EA).  Each EA license includes a large block of  spectrum3 for an entire geographic area, thereby making  transmitter-by-transmitter and channel-by-channel licensing  unnecessary.  To help EA licensees obtain the contiguous  spectrum needed to provide competitive wide-area services,  the Commission determined that any EA licensee can require  any incumbent SMR licensee to relocate to the lower 230  channels of the SMR spectrum, provided the EA licensee  gives the displaced licensee comparable facilities and spectrum, pays its relocation expenses and ensures a "seamless"  transition between the old and new frequencies.  See In the  Matter of Amendment of Part 90 of the Commission's Rules  to Facilitate Future Development of SMR Systems in the 800  MHz Frequency Band, First Report and Order, 11 F.C.C.R.  1463 (1995).  Although the Commission adhered to the new  regulatory scheme for the upper 200 channels of SMR bandwidth, it ultimately changed its procedure to give small  businesses an advantage in the auction process by allowing  bidding credits for which only small businesses could qualify.4  It maintained its two-tiered definitions of small business but  adjusted for the deletion of the installment payment plan. See Upper Channel First Reconsideration Order, 12 F.C.C.R.  9972, pp 125-34.
    
    
      3
      In June 1997 the Commission adopted a similar set of rules  for the lower 230 channels.  Again, the FCC decided to  auction the new EA licenses, each of which was intended to  cover a wide geographic area and a large block of spectrum. As before, the Commission decided to aid small businesses  with bidding credits but deferred deciding whether to eliminate installment payments.  It again used the two-tiered  definitions of small business based on average gross revenue. The FCC also required an EA licensee displacing an incumbent licensee to reimburse the incumbent for relocation expenses.  See Lower Channel Report and Order, 12 F.C.C.R.  19,079, pp 123-25, 272-87.
    
    
      4
      On September 2, 1997 the petitioner filed two petitions for  reconsideration.  One requested the FCC to reconsider portions of the Lower Channel Report and Order while the other  sought reconsideration of the Upper Channel First Reconsideration Order. On October 24, 1997 the petitioner filed a  "Consolidated Supplement to Petitions for Reconsideration,"  contending that the FCC failed to obtain the requisite approval of its "small business" definitions from the Small  Business Administration (SBA).  JA 563.  The last paragraph  of the Consolidated Supplement requested "that the Commission reconsider its Orders in accord with the foregoing, obtain  necessary prior approval from the Small Business Administration, provide necessary time prior to the scheduling of its  auction in accord with 47 U.S.C.      309(j)(3(E) [sic], and take  such other action that is necessary to cause its decisions and  Orders to be rendered in accord with applicable statutory  law."  JA 566.
    
    
      5
      On October 8, 1999 the FCC issued its Lower Channel  Reconsideration Order, in which it addressed the issues  raised both in SBT's petition for reconsideration of the Lower  Channel Report and Order and in SBT's Consolidated Supplement.  The Commission rejected the petitioner's contention that the failure to obtain SBA approval of the "small  business" definitions suspended the operation of the Lower  Channel Report and Order until the SBA's approval was  secured, explaining that the SBA had by then approved the  definitions.  Lower Channel Reconsideration Order, 14 F.C.C.R. 17,566, p 87 n.251.  The Commission also "reiterated  that payment of relocation costs" by an EA licensee to an  incumbent licensee "will not be due until the incumbent has  been fully relocated and the frequencies are free and clear."  Id. at p 58.  On October 19, 1999 the petitioner filed a petition  for review of both the Lower Channel Reconsideration Order  and the Lower Channel Report and Order as well as the  Upper Channel First Reconsideration Order.  See Small  Business in Telecommunications v. FCC, No. 99-1419 (D.C.  Cir. filed Oct. 19, 1999).  The respondents moved to dismiss  on the ground that the petition was premature because the  Lower Channel Reconsideration Order had not yet been  published in the Federal Register.  The petitioner then  moved for voluntary dismissal, which the court granted.  The  Lower Channel Reconsideration Order was subsequently  published in the Federal Register on December 20, 1999.  64  Fed. Reg. 71,042.
    
    
      6
      On December 2, 1999 the FCC issued its Upper Channel  Second Reconsideration Order, denying the petitioner's petition for reconsideration of the Upper Channel First Reconsideration Order.  The Commission stayed with its decision  to eliminate installment payments, rejecting the contention  that installment payments were necessary to ensure "a meaningful opportunity" for small businesses to participate in the  800 MHz SMR auction.  See In the Matter of Amendment of  Part 90 of the Commission's Rules to Facilitate Future  Development of SMR Systems in the 800 MHz Frequency  Band, Second Memorandum Opinion and Order on Reconsideration, 14 F.C.C.R. 21,068, p 3 (1999) [Upper Channel Second Reconsideration Order].  The Upper Channel Second  Reconsideration Order was published in the Federal Register  on July 14, 2000.
    
    
      7
      On December 29, 1999 the petitioner filed a petition "for  review of the Federal Communications Commission's Memorandum Opinion and Order on Reconsideration In the Matter of Amendment of Part 90 of the Commission's Rules; Implementation of Sections 3(n) and 332 of the Communications Act;  and Implementation of Section 309(j) of the  Communications Act adopted on September 30, 1999 [Lower Channel Reconsideration Order]."  Petition for Review, No.  99-1543 (filed Dec. 29, 1999).  On January 6, 2000 the petitioner filed a "Certificate as to Parties, Rulings and Related  Cases," noting the above cited Lower Channel Reconsideration Order as well as the Lower Channel Report and Order. Certificate as to Parties, Rulings and Related Cases, No.  99-1543 (filed Jan. 6, 2000).  On April 24, 2000 the petitioner  moved to amend the Certificate to "include Amendment of  Part 90 of the Commission's Rules to Facilitate Future  Development of SMR Systems in the 800 MHz Frequency  Band, PR Docket No. 93-144, Memorandum Opinion and  Order on Reconsideration, 12 FCC Rcd 9972 (1997) [Upper  Channel First Reconsideration Order], as a ruling under  review."  Motion to Amend Certificate as to Parties, Rulings  and Related Cases, No. 99-1543 (filed Apr. 24, 2000).  The  petitioner's motion declared that the Upper Channel First  Reconsideration Order "is an underlying Order to the [Lower  Channel Reconsideration Order] released on October 8, 1999  in the same matter, which order is the primary order on  review in the above-captioned case."  Id.  The motion was  granted on April 28, 2000.
    
    Discussion
    
      8
      The petitioner argues that in issuing the Lower Channel  Report and Order, Lower Channel Reconsideration Order  and Upper Channel First Reconsideration Order, the FCC  violated (1) 15 U.S.C.      632(a)(2)(C)(iii) and 5 U.S.C.      553(d)  by failing to obtain prior SBA approval of its "small business"  definitions, (2) 47 U.S.C.      309(j) by failing to allow interested  parties sufficient time to participate in the 800 MHz SMR  auction and (3) 5 U.S.C.      604(a)(5) by failing to address the  economic impact of relocation on "small business" incumbent  licensees.  Because we dispose of the petitioner's challenges  to the upper and lower channel orders in different ways, we  address the orders separately.
    
    
      9
      A. Upper Channel First Reconsideration Order
    
    
      10
      The Federal Rules of Appellate Procedure "govern procedure in the United States courts of appeal," Fed. R. App. P. 1, as do the Circuit Rules of our Circuit.  See Circuit Rule 1. Rule 15(a) of the Federal Rules of Civil Procedure requires  that a petition for review "specify the order or part thereof to  be reviewed."  Fed. R. App. P. 15(a)(2)(C).  "Failure to  specify the correct order can result in dismissal of the petition."  Entravision Holdings, LLC v. FCC, 202 F.3d 311, 312  (D.C. Cir. 2000).  "A mistaken or inexact specification of the  order to be reviewed will not be fatal to the petition, however,  if the petitioner's intent to seek review of a specific order can  be fairly inferred from the petition for review or from other  contemporaneous filings, and the respondent is not misled by  the mistake."  Id. at 313 (collecting cases).  It is undisputed  that the petitioner failed to specify the Upper Channel First  Reconsideration Order in its petition for review filed December 29, 1999.5  Accordingly, we examine not only the petition  for review but also other documents contemporaneously filed  therewith to determine whether we can fairly infer the petitioner's intent to seek review of the Upper Channel First  Reconsideration Order.  Our caselaw provides instructions  for undertaking this task.
    
    
      11
      In Entravision Holdings LLC v. FCC, the petitioner, Entravision, specified only the order denying reconsideration  and not the underlying order it later sought to challenge in its  brief.  Entravision, 202 F.3d at 312.  Even though Entravision's petition noted the underlying order in setting out the  history of the proceedings, the court held that it could not  determine whether Entravision intended to seek review of the  underlying order.  It then looked at Entravision's contemporaneous filings.  See id. at 314.  Entravision's docketing  statement,6 filed within one month of its petition, also specified only the reconsideration order.  Additionally, Entravision's "Preliminary Statement of Issues,"7 filed the same day,  identified only two issues, "both of which relate[d] exclusively  to the Commission's denial of reconsideration."  Id.  After  looking at the contemporaneously filed documents as well as  the petition for review, the court concluded that it "cannot  fairly infer that [Entravision] intended to seek review of the  [underlying order]."  Id.
    
    
      12
      By contrast, in Martin v. FERC, 199 F.3d 1370, 1371-73  (D.C. Cir. 2000), the court held that the petitioner's intent to  seek review of the Certificate Order, instead of the Rehearing  Order specified in its petition, was evident from a contemporaneously filed (same day) motion to stay.  The court found  that by attaching to the motion a copy of his application for  rehearing, in which the petitioner took issue with the Certificate Order, the petitioner had sufficiently identified the Certificate Order as the order from which his challenge to the  Commission action arose.  Additionally, the court found that  the nature of the motion to stay itself sufficed to indicate that  the petitioner's purpose in filing his petition for review was to  obtain review of the Certificate Order.  The court also looked  at the docketing statement which "indicated he was challenging the Certificate Order as well as the Rehearing Order." Id. at 1373.  Finally, the court found that the Commission  understood the petitioner to be challenging the Certificate  Order as was apparent from its responsive filings.  See id.; see also Schoenbohm v. FCC, 204 F.3d 243, 245-46 (D.C. Cir.  2000) (fair to infer intent from "concise statement of reasons"  required by 47 U.S.C.      402(c) to be filed together with notice  of appeal, which failed to specify correct decision).
    
    
      13
      We came to the opposite conclusion in Southwestern Bell  Telephone Co. v. FCC, 180 F.3d 307, 313 (D.C. Cir. 1999). There, the petitioner, Southwestern Bell, requested the court  to consider its petition for review of a reconsideration order,  which the court held was unreviewable, to include an investigation order, which was reviewable.  The court denied the  request.  It noted that the petition for review named only the  reconsideration order and only that order was appended to  the petition, see id., and that the docketing statement mentioned and attached only the reconsideration order.  Finally,  the court stated that Southwestern Bell's Preliminary Statement of Issues both began and ended by referring to the  reconsideration order and included only those issues raised in  its petition for reconsideration.  The court concluded:  "In  short, nothing prior to the brief filed in this court (by  appellate counsel) gave the Commission any notice of Southwestern Bell's intent to seek review of the Investigation  Order.  Nor should that intent have been obvious."  Id.
    
    
      14
      In City of Benton v. NRC, 136 F.3d 824 (D.C. Cir. 1998)  (per curiam), the petitioner conceded that it had named the  wrong order in its petition.  Nevertheless, it argued that the  Nuclear Regulatory Commission was not prejudiced because  the agency knew which order it wanted to challenge.  The  court explained that "[w]hichever order ACC intended to ask  the court to review, it named the wrong order in its petition. Fed. R. App. P. 15(a) requires that ACC's petition be dismissed for failing properly to designate the order to be  challenged."  Id. at 826 (emphasis original).  The court, citing  John D. Copanos &amp; Sons, Inc. v. FDA, 854 F.2d 510, 527  (D.C. Cir. 1988), noted that a petition for review designating  only one order issued in an administrative proceeding was not  adequate to obtain review of any other order included in the  same administrative record.  The court rejected the reasoning of Castillo-Rodriguez v. INS, 929 F.2d 181, 183 (5th Cir.  1991) (refusing "to allow a mere technicality in pleading to result in a denial of an opportunity for petitioner to obtain a  decision on the merits" and concluding "that we should treat  the petition for review of the immigration judge's order as  'effective, although inept, attempt' to seek review of the final  order of the Board"), and dismissed the petition.
    
    
      15
      These cases illustrate that the court considers not only the  contents of the petition for review but also any documents  affixed thereto or filed contemporaneously therewith in ascertaining the petitioner's intent.  Here SBT failed to designate  in its petition for review the order that it ultimately challenged in its brief.  SBT's "Petition for Review" named only  the Lower Channel Reconsideration Order;  it included neither the Upper Channel First Reconsideration Order nor the  Upper Channel Second Reconsideration Order.  SBT attached only the Lower Channel Reconsideration Order to its  petition.  Likewise, SBT's "Certificate As To Parties, Rulings  and Related Cases," filed January 6, 1999, failed to mention  either upper channel order;  the Certificate designated only  the Lower Channel Reconsideration Order and the underlying Lower Channel Report and Order.8
    
    
      16
      SBT also filed a "Docketing Statement" on January 6, 1999,  listing the docket numbers as "PR Doc. No. 93-144;  GN Doc.  No. 93-252;  PP Doc. No. 93-253."  In Entravision, Martin  and Southwestern Bell, the court considered the Docketing  Statement as a contemporaneous filing from which it could  infer the petitioner's intent.  Although the two lower channel  and two upper channel orders at issue share the same docket  number, the manner in which the petitioner described the  dates of the orders indicates to us that it sought review of the  lower channel orders only.  It described the orders as:  "Released Dates:  MO&amp;O, 10/8/99;  Second Order, 7/10/97."  Its  use of "Second Order" instead of "Second Orders" or "Second  Order and Reconsideration Order" manifests that it sought  review of only one of the July 10, 1997 orders.  SBT's  description of the challenged order as "Second Order" also  indicates that it sought review of the Lower Channel Report  and Order, which was entitled "Second Report and Order,"  and not the Upper Channel First Reconsideration Order,  which was entitled "Memorandum Opinion and Order on  Reconsideration."  And, as we have held in the past, the  petitioner's designation of only one order does not "suffice[ ]  to obtain review of any other order that is part of the same  administrative record" even if the order specified has the  same docket number as another order sought to be reviewed. John D. Copanos &amp; Sons, 854 F.2d at 527.
    
    
      17
      On April 24, 2000, almost four months after it filed its  petition for review, SBT filed a "Motion to Amend Certificate  as to Parties, Rulings and Related Cases."  We do not regard  this document to be a filing contemporaneous with the petition for review.  The dictionary definition of "contemporaneous" is "existing or occurring during the same time."  Webster's Third International Dictionary 491 (1981).9  We use  the term "contemporaneous filing" to include documents filed  at or near the same time as the petition for review.  See, e.g.,  Entravision, 202 F.3d at 313-14;  Martin, 199 F.3d at 137173.  Although these documents can include "Docketing Statements," "Certificates as to Parties, Rulings and Related Cases," and "Statements of Issues" as well as documents  attached to the petition for review, the petitioner's motion to  amend filed almost four months after its petition for review is  plainly not a contemporaneous filing.10  Moreover, we could  easily conclude from the motion to amend that it was not  SBT's intent to seek review of the Upper Channel First  Reconsideration Order at the time it filed the petition for  review, but instead an afterthought occurring several months  down the road.11  Accordingly, we find nothing in the petition  for review or documents filed contemporaneously therewith  from which we can fairly infer that the petitioner sought  review of the Upper Channel First Reconsideration Order in  its petition for review.12
    
    
      18
      The petitioner next argues that the Lower Channel Report  and Order and the Upper Channel First Reconsideration  Order are part of a single consolidated rulemaking, thereby  making the separate identification of the upper channel order  surplusage.  To support its contention, SBT points to its  "Consolidated Supplement to Petitions for Reconsideration"  filed October 24, 1997, maintaining that it worked to combine  the two petitions for reconsideration, both of which were  denied in the Lower Channel Reconsideration Order.  Nevertheless, SBT had filed two separate petitions for reconsideration:  The first "request[ed] that the Commission reconsider  its decisions within [the Lower Channel Report and Order]."  JA 477.  The second, filed the same day, "request[ed] that  the Commission reconsider its decisions within its [Upper  Channel First Reconsideration Order]."  JA 511.  The filing  of two separate petitions for reconsideration indicates not  only that the Lower Channel Report and Order and the  Upper Channel First Reconsideration Order are separate  orders but also that SBT viewed them as such notwithstanding they arose from the same rulemaking proceeding.
    
    
      19
      Contrary to SBT's claim, moreover, its Consolidated Supplement nowhere expressly requested that the Commission  consolidate the petitions for reconsideration.  Rather, it argued that the Commission failed to obtain SBA approval of its  "small business" definitions in the Commission's 1997 orders. JA 563.  The FCC responded separately to the issues raised  in the Supplement, addressing only the issues regarding the  lower channel rulemaking in the Lower Channel Reconsideration Order.  See Lower Channel Reconsideration Order, 14  F.C.C.R. 17,566, p 87 n.251.  Although the Appendix to the  Lower Channel Reconsideration Order, listing the petitions  addressed in the order, noted an SBT petition for reconsideration as well as SBT's Supplement, by the time the petitioner  filed its petition for review (on December 29, 1999), the FCC  had issued its Upper Channel Second Reconsideration Order,  putting SBT on notice that the FCC had also denied SBT's  petition for reconsideration of the Upper Channel First Reconsideration Order.  The petitioner's argument that the  Commission's Lower Channel Reconsideration Order ignored  issues included in its petition for reconsideration of the Upper  Channel First Reconsideration Order further manifests that  SBT believed the FCC treated the petitions separately, responding to one in its Lower Channel Reconsideration Order  and to the other in its Upper Channel Second Reconsideration Order.  Accordingly, we must dismiss SBT's petition for review to the extent that it attempts to challenge the Upper  Channel First Reconsideration Order because it failed to  designate that order in accordance with Fed. R. App. P.  15(a)(C).
    
    
      20
      Even if we found no violation of Rule 15(a)(C), we would  nevertheless dismiss the challenge to the Upper Channel  First Reconsideration Order because it is incurably premature.  A party that files a petition for reconsideration before  an agency "render[s] the underlying agency action nonfinal  (and hence unreviewable) with respect to th[at] party."  United Transp. Union v. ICC, 871 F.3d 1114, 1116 (D.C. Cir.  1989).  "Therefore, a party that stays before an agency to  seek reconsideration of an order cannot at the same time  appear before a court to seek review of that same order, any  more than the party could literally be in two places at the  same time."  BellSouth Corp. v. FCC, 17 F.3d 1487, 1489  (D.C. Cir. 1994).
    
    
      21
      The petitioner filed a separate petition for reconsideration  of each of the 1997 SMR orders.  Its two petitions had the  effect of making both the Lower Channel Report and Order  and the Upper Channel First Reconsideration Order nonfinal  as to it, for the purpose of judicial review, until "entry" of the  Lower Channel Reconsideration Order and of the Upper  Channel Second Reconsideration Order respectively.  See 28  U.S.C.      2344.  28 U.S.C.      2344 "imposes a jurisdictional  bar to judicial consideration of petitions filed prior to entry of  the agency orders to which they pertain."  Western Union  Tel. Co. v. FCC, 773 F.2d 375, 378 (D.C. Cir. 1985).  "Entry of  the agency order[ ]" occurs on the date the Commission gives  public notice of the order.  See 47 U.S.C.      405;  47 C.F.R.       1.103(b);  Western Union Tel. Co., 773 F.2d at 376. The  FCC's rules identify the date of public notice as "the date of  publication in the Federal Register."  47 C.F.R.      1.4(b).  On  December 29, 1999, the date the petitioner filed its petition  for review, the Upper Channel Second Reconsideration Order  denying the petitioner's petition for reconsideration of the  Upper Channel First Reconsideration Order had not been entered,13 making the petition for review "incurably premature" as to the Upper Channel First Reconsideration Order. BellSouth, 17 F.3d at 1490.
    
    
      22
      SBT responds that the Upper Channel Second Reconsideration Order was a duplicate order "which again denied SBT's  consolidated petitions and supplement."  Reply Br. 12.  We  fail to understand how the petitioner could have "rightfully  determined that although the duplicate Order did add to the  record, it was not significant for the purpose of the Court's  jurisdiction."  Id.  Aside from its bare assertion, the petitioner has no record support for its claim.  Paragraph six of the  Lower Channel Reconsideration Order states:  "In response  to the [Lower Channel Report and Order], the Commission  received a number of pleadings requesting reconsideration,  modification or clarification of its rules relating to mandatory  relocations, co-channel interference, spectrum block size, geographic area licensing, and partitioning and disaggregation. We address these concerns below."  14 F.C.C.R. 17,566 at  p 6.  Throughout the "Discussion" portion of the Lower Channel Reconsideration Order, the Commission primarily referred to the Lower Channel Report and Order.  Although it  did mention the Upper Channel First Reconsideration Order  in a limited context, see, e.g., id. at  pp 33, 41, 70, it addressed  only those arguments presented in SBT's petition for reconsideration of the Lower Channel Report and Order,14 not  SBT's petition for reconsideration of the Upper Channel First  Reconsideration Order.15  We thus find no merit in SBT's  contention that the Upper Channel Second Reconsideration  Order was a duplicate order relieving it of the obligation to  separately challenge that order.
    
    B. Lower Channel Orders
    
      23
      We turn to SBT's challenge to the Lower Channel Report  and Order and Lower Channel Reconsideration Order.  SBT  makes two claims:  (1) the FCC's failure to obtain SBA  approval of its small business definitions violated 15 U.S.C.       632(a)(2)(C)(iii) and 5 U.S.C.      553(d) and (2) the Commission's Final Regulatory Flexibility Act (FRFA) analysis in the  Lower Channel First Report and Order was invalid under 5  U.S.C.      604(a)(5).
    
    
      24
      15 U.S.C.      632(a)(2)(C) provides:  "Unless specifically authorized by statute, no Federal department or agency may  prescribe a size standard for categorizing a small business  concern, unless such proposed size standard ... (iii) is approved by the Administrator [of the SBA]."  SBT argues that  in failing to obtain the SBA Administrator's prior approval of  its definition of "small business," the FCC violated its statutory duties under Title 15 and Title 5.  The FCC acknowledges  that it did not have SBA approval at the time it adopted the  Lower Channel Report and Order on June 23, 1997.  Nevertheless the SBA had approved the definitions before the FCC  commenced the lower channel auction, see JA 609 (Aug. 10,  1999 approval letter for lower channel auction).  The SBA's  tardy approval does not, in our view, nullify the entire  rulemaking;  the SBA approved the definitions before the  auction and SBT failed to show that any of its members were  harmed in any way by the timing of the SBA approval.16
    
    
      25
      The petitioner next asserts that the FRFA analysis contained in the Lower Channel First Report and Order violated  5 U.S.C.      604(a)(5).  Pursuant to 5 U.S.C.      604(a)(5) an  agency is required to include in its FRFA analysis "a description of the steps the agency has taken to minimize the  significant economic impact on small entities consistent with  the stated objectives of applicable statutes."  The petitioner  challenges the FCC's decision to require EA licensees to pay  relocation costs to an incumbent licensee for expenses incurred from relocating from the upper 200 channels to the  lower 230 channels only after the relocation is complete and  the upper channel frequencies are clear.  See Lower Channel  Reconsideration Order, 12 F.C.C.R. 17,566  pp 57-58.  It  maintains that the FCC failed to describe what steps it took  to minimize the economic impact on the small incumbent  licensees that will have to pay relocation costs up front.
    
    
      26
      Acknowledging that the Lower Channel Reconsideration  Order is unclear on when incumbent licensees will be reimbursed for relocation costs,17 the Commission asked that the court await the Commission's decision on a petition for clarification filed by the American Mobile Telecommunications Association, Inc. (AMTA).  The FCC subsequently reconsidered  the issue in "In the Matter of Amendment of Part 90 of the  Commission's Rules to Facilitate Future Development of  SMR Systems in the 800 MHz Frequency Band," FCC 01-33  (released February 2, 2001) [Lower Channel Second Reconsideration Order].  The FCC noted that "neither the [Lower  Channel Report and Order] nor the [Lower Channel Reconsideration Order] adequately addressed the question of when  incumbent licensees should be repaid for their involuntary  relocation costs."  Id. p 7.  It explained that, because EA  licensees bear the costs of building and testing the replacement system, "it is clear that the primary cost burden for  involuntary relocations rests on the EA licensee, not the  incumbent."  Id. p 8.  It therefore concluded that to the  extent the incumbent may incur additional relocation costs,  they will be reimbursed by the EA licensee after relocation is  complete.  Id. pp 8-10.
    
    
      27
      From our review of the record, however, it appears that  SBT failed to raise the FRFA analysis issue during the  rulemaking, see 47 U.S.C.      405;  Southwestern Pa. Growth  Alliance v. Browner, 121 F.3d 106, 122 (3d Cir. 1997), and the  FCC noted that "[n]o reconsideration petitions were submitted in response to the FRFA."  Lower Channel Reconsideration Order, 14 F.C.C.R. 17,566, at App. C p 3.  Assuming  arguendo that SBT's failure is understandable in light of the  Commission's admission that neither the Lower Channel Report and Order nor the Lower Channel Reconsideration  Order clearly addressed the issue, we would nonetheless  reject the challenge.  Cf. Abbott Labs. v. Gardner, 387 U.S.  136, 148-49 (1967) (ripeness);  Star, Inc. v. FCC, 888 F.2d 132,  134 (D.C. Cir. 1989) (same);  Midwestern Gas Transmission  Co. v. FERC, 589 F.2d 603, 618 (D.C. Cir. 1978) (same);  see  also Public Citizen v. NRC, 845 F.2d 1105, 1108-10 (D.C. Cir.  1988) (final agency action).
    
    Conclusion
    
      28
      To sum up, we conclude that SBT's failure to specify the  Upper Channel First Reconsideration Order as an order  under challenge violates Federal Rules of Appellate Procedure 15 and mandates that we dismiss the petition to the  extent it seeks review of that order.  With respect to SBT's  challenges to the lower channel orders--failure to obtain SBA  approval of the small business definitions and failure to  perform an adequate FRFA analysis--we conclude the first  challenge is without merit and the second was waived.  For  the foregoing reasons, and in accordance with this opinion,  the petition for review is dismissed in part and denied in part.
    
    
      29
      So ordered.
    
    
      
        Notes:
      
      
        1
         The rulemakings include:  In the Matter of Amendment of Part  90 of the Commission's Rules to Facilitate Future Development of  SMR Systems in the 800 MHz Frequency Band, Second Report and  Order, 12 F.C.C.R. 19,079 (1997) [Lower Channel Report and  Order], In the Matter of Amendment of Part 90 of the Commission's  Rules to Facilitate Future Development of SMR Systems in the 800  MHz Frequency Band, Memorandum Opinion and Order on Reconsideration, 12 F.C.C.R. 9972 (1997) [Upper Channel First Reconsideration Order] and In the Matter of Amendment of Part 90 of the  Commission's Rules to Facilitate Future Development of SMR  Systems in the 800 MHz Frequency Band, Memorandum Opinion  and Order on Reconsideration, 14 F.C.C.R. 17,566 (1999) [Lower  Channel Reconsideration Order].
      
      
        2
         Bandwidth is "[t]he capacity of a telecom line to carry signals. The necessary bandwidth is the amount of spectrum required to  transmit the signal without distortion or loss of information.  FCC  rules require suppression of the signal outside the band to prevent  interference." Federal Communications Comm'n, What We're All  About: A Consumer's Guide to the FCC (FCC Handbook) 2001,  available at http://www.fcc.gov/cib/handbook.html.
      
      
        3
         Spectrum is "[t]he range of electromagnetic radio frequencies  used in the transmission of sound, data and television."  FCC  Handbook, supra.
      
      
        4
         Previously it had allowed them to pay for their license in  installments.
      
      
        5
         As already noted, although the petitioner's October 19, 1999  petition for review included the Upper Channel First Reconsideration Order, the petitioner voluntarily dismissed that petition on  December 20, 1999.
      
      
        6
         Under D.C. Circuit Rules the docketing statement "must be on  a form furnished by the clerk's office and contain such information  as the form prescribes" including case name, type of case and  identifying information about the order to be reviewed.  Circuit  Rule 15(c).  "Attached to the docketing statement must be a  provisional certificate ... setting forth the information required by  Circuit Rule 28(a)(1)," which includes parties and amici, rulings  under review and related cases.  Circuit Rule 15(a)(3);  see Circuit  Rule 28(a)(1).
      
      
        7
         The court routinely requests a "Preliminary Statement of Issues" as part of the information included with the Docketing  Statement.  See Circuit Rule 15(c)(2);  D.C. Circuit Handbook of  Practice and Internal Procedures  IV.A3 &amp; IV.B, at 21-22 ("The  docketing statement includes ... a non-binding preliminary statement of the issues involved....");  see also United States v. Pogue,  19 F.3d 663, 666 &amp; n.2 (D.C. Cir. 1994) (per curiam).
      
      
        8
         The "Statement of Issues" which prefaced the Certificate did  include two issues that referred to "the FCC's scheduling of the 800  MHz auction."  Requested Information, No. 99-1543 (filed Jan. 6,  2000).  The petitioner did not argue, and we do not find, that these  references allow us to fairly infer that the petitioner sought review  of the Upper Channel First Reconsideration Order.
      
      
        9
         We acknowledge that while courts use the term "contemporaneous" to mean "close in time," it is a relative term.  For example,  under the contemporaneous construction doctrine, a court or agency  decision or practice interpreting an ambiguous statute may be  considered a contemporaneous construction even though the interpreting act occurs months or even one year or more after the  statute was enacted.  See Andrus v. Shell Oil Co., 446 U.S. 657, 673  n.12 (1980);  Norwegian Nitrogen Prods. Co. v. United States, 288  U.S. 294, 315 (1933).  On the other hand, under the contemporaneous objection rule, an objection to the admission of evidence may  not be considered a contemporaneous objection even if made within  a few minutes of the objected-to admission.  See Henry v. Mississippi, 379 U.S. 443 567-68 (1965);  Wilson v. Waggener, 837 F.2d  220, 222 (5th Cir.1988).
      
      
        10
         SBT maintains that its failure to specify the Upper Channel  First Reconsideration Order was a ministerial oversight which "was  corrected by amendment accepted by the Court," relying on this  court's opinion in City of Oconto Falls v. FERC, 204 F.3d 1154, 1160  (D.C. Cir. 2000).  But our holding in Oconto Falls does not depart  from our decisions in Entravision, Martin, Southwestern Bell and  City of Benton:  It did not hold that a brief, or any document not  filed contemporaneously with the petition for review (like the motion to amend here), may be considered a contemporaneous filing  from which a court may infer intent.
      
      
        11
         After all, in its original October 19, 1999 petition for review  (subsequently voluntarily dismissed), SBT specified each of the  lower channel orders and the Upper Channel First Reconsideration  Order, manifesting that it knew how to specify the orders it sought  to challenge.
      
      
        12
         SBT asserts that the FCC would not be prejudiced by our  review of the Upper Channel First Reconsideration Order.  But we  consider prejudice to the opposing party only if we first find it fair  to infer the petitioner's intent.  See City of Benton, 136 F.3d at  826-27.
      
      
        13
         Entry of the Upper Channel Second Reconsideration Order  occurred on July 14, 2000.  65 Fed. Reg. 43,716.
      
      
        14
         For example, footnote 35 of the Lower Channel Reconsideration Order cites "SBT Petition at 7, n.5."  Id. at p 12 n.35.  Only the  petitioner's petition for reconsideration of the Lower Channel Report and Order has a footnote on its seventh page.
      
      
        15
         Footnote 1 of the Upper Channel Second Reconsideration  Order notes that the Industrial Telecommunications Association,  Inc. filed a single Petition for Clarification and Reconsideration of  both the Lower Channel Report and Order and the Upper Channel  First Reconsideration Order.  The FCC explained that it addressed  the issues raised in that petition in its Lower Channel Reconsideration Order.  While the FCC's notation may have recognized that  the 1997 orders contained overlapping issues, at the same time the  Commission sent a clear message to SBT that the FCC did not  consider its petitions to be consolidated and that the Lower Channel  Reconsideration Order did not address issues raised in SBT's  petition for reconsideration of the Upper Channel First Reconsideration Order.
      
      
        16
         SBT claims that the FCC knowingly published a misrepresentation by stating, erroneously, in its FRFA analysis accompanying  the Lower Channel Report and Order that the SBA "has approved  these definitions for 800 MHz SMR services."  Although SBT did  bring the issue of SBA approval to the attention of the Commission  in its Consolidated Supplement, it never claimed before now that  the FCC misrepresented the facts. Because the Commission was  not given "a meaningful 'opportunity to pass' on the issue," the  claim is not properly before this court.  See 47 U.S.C.      405; Bartholdi Cable Co., Inc. v. FCC, 114 F.3d 274, 280 (D.C. Cir. 1997).
      
      
        17
         In the Lower Channel Report and Order, the Commission  addressed when an EA licensee must reimburse another EA licensee for costs associated with relocating an incumbent licensee.  See  Lower Channel Report and Order, 12 F.C.C.R. 19,079, at  pp 120-25. But the Commission did not address the timing of payments  between EA licensees and incumbent licensees.  In response to  petitions for reconsideration filed by the AMTA and the Personal  Communications Industry Association (PCIA), which contended that  incumbent licensees should be reimbursed for relocation costs as  those expenses are incurred, see Lower Channel Reconsideration  Order, 14 F.C.C.R. 17,566, at p 58, the Commission purported to  "reiterate" its previous position that "relocation costs will not be  due until the incumbent has been fully relocated and the frequencies are free and clear."  Id.
      
    
    